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                                                  UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF FLORIDA

                                                     Case No. 18-cv-61469-BLOOM/Valle

 TRITON II, LLC,

              Plaintiff,

 v.

 JOHN RANDAZZO and CAPRICE TURNER,

       Defendants.
 _________________________/


                                      ORDER REQUIRING SCHEDULING REPORT
                                    AND CERTIFICATES OF INTERESTED PARTIES1

              The parties are directed to prepare and file a joint scheduling report, as required by Local

 Rule 16.1, by August 10, 2018. The joint scheduling report and proposed order shall include all

 information required by Local Rule 16.1(b)(2) and (3).

              In addition, by August 10, 2018, the parties, including governmental parties, must file

 certificates of interested parties and corporate disclosure statements that contain a complete list

 of persons, associated persons, firms, partnerships, or corporations that have a financial interest

 in the outcome of this case, including subsidiaries, conglomerates, affiliates, parent corporations,

 and other identifiable legal entities related to a party (to the extent they have not already done

 so). Throughout the pendency of the action, the parties are under a continuing obligation to

 amend, correct, and update the certificates.

              Detailed Discovery Schedule: Local Rule 16.1(a) provides for a differentiated case

 management system based on the complexity of each case and the requirement for judicial

 involvement. That system categorizes cases along three case management tracks: expedited,

                                                        
 1
  The parties must not include Judge Bloom and the assigned U.S. Magistrate Judge as interested parties
 unless they have an interest in the litigation.
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                                                             Case No. 18-cv-61469-BLOOM/Valle
                                                                                                       
 standard, or complex.

               Expedited track cases are relatively non-complex, require 1 to 3 days of trial, and
                between 90 and 179 days for discovery from the date of the scheduling order.
               Standard track cases require 3 to 10 days of trial, and between 180 and 269 days
                for discovery from the date of the scheduling order.
               Complex track cases are unusually complex, require over 10 days of trial, and
                between 270 and 365 days for discovery from the date of the scheduling order.

 “The following factors [are] considered in evaluating and assigning cases to a particular track:

 the complexity of the case, number of parties, number of expert witnesses, volume of evidence,

 problems locating or preserving evidence, time estimated by the parties for discovery and time

 reasonably required for trial, among other factors.” S.D. FLA. L. R. 16.1(a)(3).

        Fed. R. Civ. P. 26(b)(1) allows discovery regarding any nonprivileged matter that is

 relevant to any party’s claim or defense and proportional to the needs of the case, considering the

 importance of the issues at stake in the action, the amount in controversy, the parties’ relative

 access to relevant information, the parties’ resources, the importance of the discovery in

 resolving the issues, and whether the burden or expense of the proposed discovery outweighs its

 likely benefit. The parties shall participate in good faith in developing a detailed discovery plan,

 including any agreed-upon limitation on scope, frequency and the extent of discovery. The

 parties shall include in their scheduling report any unique discovery matters, including any

 electronically stored information that should be preserved and accessed. The parties shall

 establish a detailed schedule for the preservation, disclosure and access of each different type or

 category of electronically stored information.

        Consistent with the differentiated case management system, other relevant local rules

 (such as Local Rule 16.2, regarding mediation), and the twin goals of expeditious and attentive

 case management, the Court anticipates the following scheduling deadlines in the run of cases:

               Selection of a mediator and scheduling of a time, date and place for mediation
                                                 
  
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                                                             Case No. 18-cv-61469-BLOOM/Valle
                                                                                                      
                within 30 days of the scheduling order.
               Deadline to amend pleadings and join parties within 60 days of the scheduling
                order.
               Completion of all discovery consistent with the case management track
                guidelines, and 120 days prior to trial.
               Completion of mediation prior to the deadline for dispositive pre-trial motions.
               Deadline for dispositive pre-trial motions and Daubert motions (which include
                motions to strike experts) 100 days prior to trial.
               Deadline for submission of joint pre-trial stipulation, proposed jury instructions
                and verdict form, or proposed findings of fact and conclusions of law, as
                applicable, 40 days prior to trial.
               Calendar call one week prior to trial.

 Those deadlines are not exhaustive of deadlines which may be set in the scheduling order.

        The parties should address their joint scheduling report and their proposed pre-trial

 deadlines both to the differentiated case management system and to the Court’s anticipated

 deadlines. The parties are encouraged to explain their proposed deadlines in light of those

 overarching guidelines, including as to the factors listed in Local Rule 16.1(a)(3).

        As part of the joint scheduling report, the parties shall jointly complete and file with the

 Court the Election to Jurisdiction by a United States Magistrate Judge for Final Disposition of

 Motions appended to this Order at Attachment A. The Court will not accept unilateral

 submissions. A “Yes” should be checked only if all parties agree. If the parties consent to a full

 disposition of the case by the Magistrate Judge, including trial and entry of final judgment, the

 parties shall jointly file the Election to Jurisdiction form appended to the Order as Attachment

 B. The parties are advised that in accordance with 28 U.S.C. § 636(c), the Court may still refer

 motions to the Magistrate Judge for a report and recommendation.




                                                    
  
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                                                     Case No. 18-cv-61469-BLOOM/Valle
                                                                                         
        DONE AND ORDERED in Chambers at Miami, Florida, this 20th day of July, 2018.




                                                  _________________________________
                                                  BETH BLOOM
                                                  UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record




                                             
  
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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                               Case No. 18-cv-61469-BLOOM/Valle

 TRITON II, LLC,

        Plaintiff,

 v.

 JOHN RANDAZZO and CAPRICE TURNER,

       Defendants.
 _________________________/


               ELECTION TO JURISDICTION BY A UNITED STATES
            MAGISTRATE JUDGE FOR FINAL DISPOSITION OF MOTIONS

        In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
 above-captioned civil matter hereby jointly and voluntarily elect to have a United States
 Magistrate Judge decide the following motions and issue a final order or judgment with respect
 thereto:
        1. Motions for Costs                       Yes _____ No _____
        2. Motions for Attorney’s Fees             Yes _____ No _____
        3. Motions for Sanctions                   Yes _____ No _____
        4. Motions to Dismiss                      Yes _____ No _____
        5. Motions for Summary Judgment            Yes _____ No _____



 ____________         ____________________________________________
 (Date)               (Signature—Plaintiff’s Counsel or Plaintiff if pro se)



 ____________         ____________________________________________
 (Date)               (Signature—Defendant’s Counsel or Defendant if pro se)

                                         Attachment A
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              Case No. 18-cv-61469-BLOOM/Valle

 TRITON II, LLC,

        Plaintiff,

 v.

 JOHN RANDAZZO and CAPRICE TURNER,

       Defendants.
 _________________________/

                     MAGISTRATE JUDGE JURISDICTION FOR TRIAL

        In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
 above-captioned civil matter hereby jointly and voluntarily elect to have a United States
 Magistrate Judge conduct any and all further proceedings in the case, including TRIAL, and
 entry of final judgment with respect thereto.



 ____________          ____________________________________________
 (Date)                (Signature—Plaintiff’s Counsel or Plaintiff if pro se)



 ____________          ____________________________________________
 (Date)                (Signature—Defendant’s Counsel or Defendant if pro se)




                                           Attachment B




  
